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1    LAWRENCE G. BROWN
     United States Attorney
2    TODD D. LERAS
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2918
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7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    CR. S-08-0197 GEB
12             Plaintiff,             )
                                      )   STIPULATION AND
13                                    )   ORDER CONTINUING STATUS
          v.                          )   CONFERENCE
14                                    )
     MICHAEL CRAIG DENNIS,            )
15                                    )
               Defendant.             )
16                                    )
17
18        IT IS HEREBY STIPULATED by and between Plaintiff United
19   States of America, by and through United States Attorney Lawrence
20   G. Brown and Assistant U.S. Attorney Todd D. Leras, and Attorney
21   Alexandria Carl, Counsel for Defendant Michael Dennis, that the
22   status conference scheduled for November 6, 2009, be continued to
23   November 20, at 9:00 a.m.
24        The request to continue the status conference is made on the
25   ground that the government is preparing to discover to defense
26   counsel additional reports related to the government’s ongoing
27   post-indictment investigation.       Counsel needs time to assess and
28   review the additional material and determine its impact on

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1    potential strategy if the case proceeds to trial.           Both parties
2    are requesting additional time for attorney preparation.            The
3    government and defendant agree that an exclusion of time is
4    appropriate under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4
5    (reasonable time to prepare). This exclusion of time includes the
6    period from November 6, 2009, up to and including November 20,
7    2009.
8         Alexandria Carl agrees to this request and has authorized
9    Assistant United States Attorney Todd D. Leras to sign this
10   stipulation on her behalf.
11
12   DATED: November 4, 2009              By: /s/ Todd D. Leras
                                              TODD D. LERAS
13                                            Assistant U.S. Attorney
14
15   DATED: November 4, 2009              By: /s/ Todd D. Leras for
                                              ALEXANDRIA CARL
16                                            Attorney for Defendant
                                              MICHAEL DENNIS
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1         IT IS HEREBY ORDERED:
2         1.     The status conference set for November 6, 2009, is
3    continued to November 20, 2009, at 9:00 a.m.
4         2.     Based on the stipulations and representations of the
5    parties, the Court finds that the ends of justice outweigh the
6    best interest of the public and defendant in a speedy trial.
7    Accordingly, time under the Speedy Trial Act shall be excluded
8    under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 (reasonable
9    time to prepare) from November 6, 2009, up to and including
10   November 20, 2009.
11        IT IS SO ORDERED.
12   Dated:    November 5, 2009
13
14                                    GARLAND E. BURRELL, JR.
15                                    United States District Judge

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